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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-079V
                                    Filed: February 29, 2016
                                           Unpublished

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DELORES OLONOVICH,                        *
                                          *
                     Petitioner,          *      Ruling on Entitlement; Concession;
                                          *      Tetanus-diphtheria-acellular pertussis;
                                          *      (“Tdap”); Shoulder Injury Related to
SECRETARY OF HEALTH                       *      Vaccine Administration (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
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Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Darryl Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On January 14, 2016, Delores Olonovich (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that as a result
of receiving the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on February 20,
2015, she suffered a left shoulder injury. Petition at 1-4. The case was assigned to the
Special Processing Unit (“SPU”) of the Office of Special Masters.

       On February 29, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent concluded that petitioner’s alleged injury is
consistent with shoulder injury related to vaccine administration (“SIRVA”), and that it
was caused-in-fact by the Tdap vaccine she received on February 20, 2015. Id. at 3.
Respondent further stated that she did not identify any other causes for petitioner’s

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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SIRVA, and the records show that she has suffered the sequela of this injury for more
than six months. Id. Therefore, based on the record as it now stands, petitioner has
satisfied all legal prerequisites for compensation under the Act.

     In view of respondent’s concession and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Nora Beth Dorsey
                                 Nora Beth Dorsey
                                 Chief Special Master




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